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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No. 17-20275-Cr-Rosenberg

  UNITED STATES OF AMERICA,

  v.

  KEVIN CHRISTIAN FUSCO,

              Defendant.
  ______________________________/

                               REPORT & RECOMMENDATION

         Defendant, KEVIN CHRISTIAN FUSCO, appeared before the Court on July 8, 2022,

  represented by counsel, for a final hearing on violation of supervised release. Defendant was

  originally charged with conspiracy to distribute a detectable amount of MDMA, in violation

  of Title 21 U.S.C. § 846 and conspiracy to commit money laundering, in violation of Title 18

  U.S.C. § 1956(h). Following this conviction, he was sentenced to thirty-six (36) months as to

  counts one and two to be served concurrently in prison and three (3) years of supervised

  release.

         The Defendant began his term of supervised release on December 13, 2019. He

  presently stands charged with violating his supervised release by: (1) failing to refrain from

  violation of the law (2) failing to refrain from violation of the law (3) leaving the judicial

  district without first securing permission of the Court (4) leaving the judicial district without

  first securing permission of the Court (5) unlawfully possessing or using a controlled

  substance, (6) leaving the judicial district without first securing permission of the Court (7)
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  failing to refrain from violation of the law (8) failing to refrain from violation of the law and

  (9) failing to refrain from violation of the law.

         After a thorough colloquy, the defendant freely, knowingly, and voluntarily admitted

  violations, 3 through 9, through counsel, stated his wish to proceed to sentencing.

         Accordingly, the Court RECOMMENDS that the District Court accept Defendant’s

  admissions and find the Defendant guilty of committing violations 3 through 9. The Court

  further RECOMMENDS that this matter be set down for sentencing as soon as possible. The

  United States Attorney, with the concurrence of the Probation Officer, said it would be moving

  to dismiss violations 1 and 2 at or before sentencing.

         A party shall serve and file written objections, if any, to this Report and

  Recommendation with the Honorable Robin L. Rosenberg, United States District Judge for the

  Southern District of Florida, within FOURTEEN (14) DAYS of being served with a copy of

  this Report and Recommendation. Failure to timely file objections shall constitute a waiver of

  a party's "right to challenge on appeal the district court’s order based on unobjected-to factual

  and legal conclusions." 11th Cir. R. 3-1 (2016).




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         If counsel do not intend to file objections, they shall file a notice

  advising the District Court within FIVE DAYS of this Report and

  Recommendation.

         DONE and SUBMITTED in Chambers at West Palm Beach in the Southern District of

  Florida, this 15th day of July 2022.




                                                       BRUCE E. REINHART
                                                       U.S. MAGISTRATE JUDGE
